                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE


UNITED STATES OF AMERICA                        :
                                                :       Criminal No. 1:20-mj-00316-JCN
                                                :
       v.                                       :
                                                :
KATRINA PREBLE                                  :


                JOINT MOTION TO CONTINUE INITIAL APPEARANCE
                    AND ATTORNEY APPOINTMENT HEARING

       NOW COME the parties, by and through undersigned counsel and hereby jointly move

this Honorable Court for an order continuing the initial appearance and attorney appointment

hearing in this matter currently scheduled for November 18, 2020 at 9:00 a.m. In support of the

motion the parties submit jointly as follows:

       The parties are in discussions regarding the most efficient means to move forward with

initial proceedings in this matter. Based upon these discussions the parties have agreed that

undersigned defense counsel (provisionally appointed at present) requires additional time to

consult with Ms. Preble and to confirm her preparedness to move forward with the noted

hearings. Both parties recognize that additional time is necessary before moving forward to the

formal initial proceedings previously scheduled by the Court as described herein.

       WHEREFORE, for all of the foregoing reasons, including the joint nature of the relief

sought hereby, the parties respectfully request that this Honorable Court continue the initial




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appearance and attorney appointment hearing previously scheduled for November 18, 2020 at

9:00 a.m. to a later date determined by the Court in consultation with the parties.

                                                      Respectfully submitted,

Dated: November 17, 2020                              /s/ James S. Nixon
                                                      James S. Nixon, Esquire
                                                      Assistant Federal Defender
                                                      Office of the Federal Defender
                                                      23 Water Street, Suite 206
                                                      Bangor, Maine 04401
                                                      Attorney for Defendant

                                                      HALSEY B. FRANK
                                                      United States Attorney

                                                      BY: /s/ ANDREW MCCORMACK
                                                      ANDREW MCCORMACK
                                                      Assistant U.S. Attorney




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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE


UNITED STATES OF AMERICA                     :
                                             :       Criminal No. 1:20-mj-316-JCN
               v.                            :
                                             :
KATRINA PREBLE                               :


                                CERTIFICATE OF SERVICE

        I, James S. Nixon, Esquire, Assistant Federal Defender, Office of the Federal Defender,
attorney for the Defendant, hereby certify that on November 17, 2020, I electronically filed the
Joint Motion to Continue Initial Appearance and Attorney Appointment Hearing with the Court
via the CM/ECF electronic filing system which will send notification of such filing via said
system electronically on the 17th day of November, 2020 to the following persons:


       Andrew McCormack, Assistant U.S. Attorney
       U.S. DEPARTMENT OF JUSTICE
       202 Harlow Street, Rm 111
       Bangor, Maine 04401
       Andrew.McCormack@usdoj.gov

       Ashley Hadam, Officer
       U.S. Probation & Pretrial Services Office
       202 Harlow Street, Rm 209
       Bangor, ME 04401
       ashley_hadam@mep.uscourts.gov



Dated: November 17, 2020                     /s/ James S. Nixon
                                             James S. Nixon, Esquire
                                             Assistant Federal Defender
                                             Office of the Federal Defender
                                             23 Water Street, Suite 206
                                             Bangor, Maine 04401
                                             Attorney for Defendant




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